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                                            ORDERED.


       Dated: July 15, 2019




                         IN THE UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION

In Re:
JAMES ANTHONY BROWNLEE                            Case No. 9:19-bk-03270-FMD

                            Debtor/

             ORDER SUSTAINING TRUSTEE'S OBJECTION TO CLAIM OF EXEMPTION

        This cause came on for consideration, without hearing, on Trustee's Objection to Claim of
Exemption (Doc No. 17). The Court having reviewed the record, finds that an Order Directing Response to
Trustee's Objection to Claim of Exemption was entered in this case, with no response being filed.
Accordingly, it is, therefore

        ORDERED, ADJUDGED and DECREED that the Trustee's Objection to Claim of Exemption is
sustained to the extent that the value of the claimed property exceeds the allowable exemptions. It is further

        ORDERED, ADJUDGED and DECREED that Debtor is not entitled to exempt funds already
received and deposited in the Chase bank accounts under Sections 522(d)(10)(A) and (E).

        ORDERED, ADJUDGED and DECREED that the Debtor’s exemptions are limited to $1,000.00 in
personal property and $1,000.00 in a vehicle titled in Debtor’s name. It is further

         ORDERED, ADJUDGED and DECREED the Debtor shall have the right to designate which
specific assets the Debtor wishes to retain within the exemption entitlement. In the event there is a dispute
as to the value of property claimed as exempt, the Court shall determine the value of the property in
connection with a motion for turnover. It is further

        ORDERED, ADJUDGED and DECREED that this Order is entered without prejudice to the
Debtor’s claim that the property is exempt or immune under provision of law other than those provisions
limiting the value of the exemptions.
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Trustee, Robert E. Tardif Jr., is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and to file a proof of service within three days of entry of the Order.
